     Case 2:16-cv-00287-cr Document 257 Filed 06/23/20 Page 1 of 8




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF VERMONT

GARRET SITTS, et al.,


      Plaintiffs,                         Civil Action No. 2:16-cv-00287-cr


v.


 DAIRY FARMERS OF AMERICA, INC. and
 DAIRY MARKETING SERVICES, LLC,


      Defendants.



DEFENDANTS DAIRY FARMERS OF AMERICA, INC. AND DAIRY MARKETING
   SERVICES, LLC’S REPLY IN SUPPORT OF MOTION IN LIMINE NO. 6:
      TO PRECLUDE EVIDENCE AND ARGUMENT RELATING TO
                  NATIONAL DAIRY HOLDINGS LP
          Case 2:16-cv-00287-cr Document 257 Filed 06/23/20 Page 2 of 8




       In Motion in Limine No. 6, ECF. No 210 (“MIL No. 6”), Defendants Dairy Farmers of

America, Inc. and Dairy Marketing Services, LLC (collectively “DFA”) ask the Court to preclude

evidence and argument regarding National Dairy Holdings LP (“NDH”) to prevent an irrelevant,

prejudicial, and confusing sideshow. Plaintiffs appear to oppose the motion on the grounds that

they very much welcome the show.

       Under the guise of presenting “history,” plaintiffs seek to submit cherry-picked facts and

allegations, ostensibly for the purpose of establishing that NDH’s pre-2005 activity purportedly

supported DFA’s acquisition of a monopsony in Order 1, and this supposedly resulted in depressed

prices, for which plaintiffs seek to recover damages. See Pls’ Opp. to Defs’ Mot. In Limine No.

6, ECF No. 228 (“Opp’n”).

       Plaintiffs have no explanation for the fact that, although it is uncontested that NDH did not

exist in the Northeast after 2004, plaintiffs have named NDH as a co-conspirator in this case; have

purportedly measured the supposed “effect” of DFA’s alleged conspiracy with NDH from 2005 to

2017 on farmer pay prices in Order 1; and are now asking the jury to award them damages based

on a purported conspiracy between DFA and NDH from 2005 to 2017. Plaintiffs apparently hope

that by ignoring this problem altogether in their Opposition, the Court will not force them to

account for this inconsistency that undermines their own theory of the alleged conspiracy (and its

supposed effect on farmer pay prices from 2005 to 2017). Nor do plaintiffs explain how they can

recover damages for any supply agreement entered into between DFA and NDH before 2005;

indeed, as set forth in DFA’s separate Motion in Limine No. 2, ECF No. 200 (“MIL No. 2”), and

reply thereto, ECF No. 243, the continuing violation legal theory—and this Court’s holding in

Allen v. Dairy Farmers of America, Inc., 748 Supp. 323 (D. Vt. 2010)—are clear that the
           Case 2:16-cv-00287-cr Document 257 Filed 06/23/20 Page 3 of 8




continuation of a contract entered before the limitations period cannot constitute an overt act from

which a plaintiff can collect damages during the limitations period of the case.

       Instead, plaintiffs pretend that the only role they envision for NDH-evidence to play at trial

is one of providing “background” and “context” for plaintiffs’ other allegations about DFA. This

is simply false. Regardless, the Federal Rules of Evidence prevent the use of information where

the danger of its use substantially outweighs the probative value it adds. See Fed. R. Evid. 403.

Plaintiffs’ tortured tale of NDH is not relevant to plaintiffs’ claims in Order 1, and the prejudice

of allowing such information is clear. Not only will this evidence invite the jury to award liability

and damages on a legally impermissible ground, but introducing this evidence puts DFA in a bind:

DFA must either allow insinuation to confuse and mislead the jury, or waste the Court’s time and

resources putting years of NDH’s national actions in context—context that itself is totally

irrelevant to plaintiffs’ claims. Neither outcome is acceptable under the Rules of Evidence. The

Court should grant DFA’s MIL No. 6.

                                           DISCUSSION

       Even if the Court were to accept that plaintiffs intend to abandon at trial their claim of

injury from 2005 to 2017 from a conspiracy between DFA and NDH—an entity that did not exist

in Order 1 after 2004—plaintiffs intend to use the “history” of NDH for improper purposes.

Plaintiffs explain they are entitled to present history and assume this entitles them to present history

without consideration of prejudice, value, markets, remoteness, or even temporal consistency. Cf.

Cont’l Ore Co. v. Union Carbide & Carbon Corp., 370 U.S. 690, 710 (1962) (“We do not mean

that a trial court may not place reasonable limits upon such evidence or set a reasonable cut-off

date, evidence before which point is to be considered too remote to have sufficient probative value




                                                   2
          Case 2:16-cv-00287-cr Document 257 Filed 06/23/20 Page 4 of 8




to justify burdening the record with it.”). What is missing is how that “history” has a tendency to

make a fact of consequence more or less probable. See Fed. R. Evid. 401.

       The 2008 payment to Allen Meyer to purchase his ownership interest in NDH is one

example. Plaintiffs do not dispute that NDH stopped operating in Order 1 in 2004. Plaintiffs do

not dispute that the payment to Allen Meyer was made in 2008.1 However, plaintiffs argue that

the 2008 payment is relevant because it shows that “DFA paid the other NDH owners for allowing

it to control the company.” Opp’n at 8. Plaintiffs do not explain how a 2008 business decision to

pay Allen Meyer for his ownership interest in a company that did not operate in Order 1 after 2004

makes it more or less probable that DFA acquired a monopsony or suppressed the prices of raw

milk in the Northeast after 2005. Indeed, as DFA stated in its MIL No. 6, there is no authority for

plaintiffs’ apparent belief that they may recover under the antitrust laws if DFA’s business

decisions do not comport with plaintiffs’ personal views about what constitutes a good business

deal. See MIL No. 6 at 9-10.

       The same problems are found in plaintiffs’ attempt to use evidence of DFA’s 2001

discussions with the U.S. Department of Justice (“DOJ”) regarding non-Order-1 plants. Plaintiffs

do not dispute that the plants DFA acquired out of the Suiza / Dean merger were not in Order 1,

or that DFA’s promises regarding “most favored nation” clauses applied to plants outside the

Northeast. See id. at 6-7. Yet, plaintiffs argue that this information is “highly probative of

Defendants’ knowledge that its actions are anticompetitive,” with zero regard for the promises

actually made or relevant markets to which those promises applied. See Opp’n at 8. Plaintiffs do




1
       Plaintiffs’ only other evidence with respect to the Meyer payment seems to be that, in their
opinion, the book value of Mr. Meyer’s shares was “worthless.” See Pls.’ Statement of Disputed
Material Facts in Supp. of Opp’n to Defs.’ Mot. for Summ. J. ¶ 114, ECF No. 102 (quotation
omitted).


                                                3
           Case 2:16-cv-00287-cr Document 257 Filed 06/23/20 Page 5 of 8




not explain how DFA’s actions in 2001 with regard to plants outside the Northeast make it more

or less probable that DFA suppressed prices to farmers in the Northeast. 2 As DFA explained in

its MIL No. 6, nothing in DFA’s statements to, or various discussions with, the DOJ serve as a

substitute for the applicable legal standards against which plaintiffs’ claims must be measured, nor

are they probative as to whether any particular “most favored nation” clause is anticompetitive.

See MIL No. 6 at 7.

       As plaintiffs concede, Federal Rule of Evidence 403 bars evidence that would “lure the

factfinder into declaring guilt on a ground different from proof specific to the offense charged.”

Opp’n at 9-10 (quoting S.E.C. v. McGinnis, 2015 WL 5643186, at *14 (D. Vt. Sept. 23, 2015)

(Reiss, J.)). In fact, this is plaintiffs’ strategy: cherry pick irrelevant, alleged events from the

“history” of NDH, present them without context, and use conjecture to bridge the gaps. There is

simply no other explanation for plaintiffs’ desire to present the purchase of an ownership interest

in a company that does not operate in Order 1 (and has not since 2004), or discussions with the

DOJ that have no connection to the facts in the Northeast.

       The Federal Rules of Evidence prevent the waste of time and resources related to the

presentation of irrelevant and prejudicial information. Should plaintiffs be permitted to present

such evidence of NDH, DFA would have no choice but to provide the jury with context of: what

NDH was; the Suiza / Dean merger; why DOJ was involved; what DFA agreed to; why it was

limited to plants outside Order 1; NDH’s operations nationwide; NDH’s operations before 2004,



2
       In footnote 9 of their Opposition, plaintiffs insist that they are not asking the jury to decide
whether DFA violated a promise to DOJ. Opp’n at 10 n.9. But that is exactly what plaintiffs have
argued. See, e.g., Op. & Or. at 20, Sept. 27, 2019, ECF No. 130 (“Professor Elhauge opines that
DFA violated each of these concessions [to the DOJ].”). Further, plaintiffs intend for the jury to
then decide that if DFA violated a promise to DOJ in some other context, DFA must have violated
the Sherman Act in Order 1. This is precisely the improper purpose prohibited by the Federal
Rules of Evidence.


                                                  4
           Case 2:16-cv-00287-cr Document 257 Filed 06/23/20 Page 6 of 8




after 2004, and in 2008; how DFA and NDH made business decisions; how, when, and why the

Meyer payment was made; and the lack of relevance of all this evidence to the Northeast. And all

of this would consume the Court and the jury’s time with a needless sideshow, even though none

of the NDH evidence is relevant to plaintiffs’ antitrust claims.3

       Plaintiffs cite the United States Supreme Court in Continental Ore for the proposition that

“the jury is entitled to ‘look at the whole picture and not merely at the individual figures in it.’”

Opp’n at 7 (quoting Cont’l Ore, 370 U.S. at 698-99). The irony is that plaintiffs want to present

the jury with individual figures—irrelevant events, taken out of context and ripe for insinuation—

without presenting the “whole picture” to which the jury is entitled. Plaintiffs have demonstrated

that the evidence and argument they intend to present regarding NDH is irrelevant and unduly

prejudicial.

                                          CONCLUSION

       For these reasons, the Court should grant Defendants’ Motion in Limine No. 6.




3
        Defendants note that plaintiffs incorporate by reference their Opposition to Defendants’
Motion in Limine No. 2, ECF No. 220, in which plaintiffs reveal which pre-2005 information is
necessary to their claims. Plaintiffs did not include NDH as part of that filing. Two explanations
jump out: 1) that NDH is not actually relevant to plaintiffs’ claims; and/or 2) that contrary to their
assertions, plaintiffs intend to spend significantly more time on pre-2005 evidence than they tell
the Court. As described in DFA’s MIL No. 2 and reply thereto, the Sherman Act’s four-year
statute of limitations and the continuing violation doctrine bar plaintiffs from a finding of liability
for any claim that accrued before October 2005, even if the conduct at issue continued after that
date. See Reply in Supp. of DFA’s Mot. in Limine No. 2 at 2-5, ECF No. 243. Plaintiffs’ inability
to base their claims on these pre-limitations-period acts further undermines the relevance of this
evidence and worsens the confusion and prejudice that would result from presenting it to the jury.

                                                  5
         Case 2:16-cv-00287-cr Document 257 Filed 06/23/20 Page 7 of 8




Dated: June 23, 2020                   Respectfully submitted,

                                        /s/ Alfred C. Pfeiffer Jr.
                                       Alfred C. Pfeiffer Jr. (admitted pro hac vice)
                                       Sarah M. Ray (admitted pro hac vice)
                                       LATHAM & WATKINS LLP
                                       505 Montgomery Street, Suite 2000
                                       San Francisco, CA 94111
                                       Telephone: 415-391-0600
                                       Facsimile: 415-395-8095
                                       Email: al.pfeiffer@lw.com
                                       Email: sarah.ray@lw.com
                                       Margaret M. Zwisler (admitted pro hac vice)
                                       Jennifer L. Giordano (admitted pro hac vice)
                                       Molly M. Barron (admitted pro hac vice)
                                       LATHAM & WATKINS LLP
                                       555 Eleventh Street, NW, Suite 1000
                                       Washington, DC 20004
                                       Telephone: 202-637-2200
                                       Facsimile: 202-637-2201
                                       Email: margaret.zwisler@lw.com
                                       Email: jennifer.giordano@lw.com
                                       Email: molly.barron@lw.com
                                       W. Todd Miller (admitted pro hac vice)
                                       BAKER & MILLER PLLC
                                       2401 Pennsylvania Avenue, NW, Suite 300
                                       Washington, DC 20037
                                       Telephone: 202-663-7820
                                       Facsimile: 202-663-7849
                                       Email: tmiller@bakerandmiller.com
                                       Ian P. Carleton
                                       SHEEHEY FURLONG & BEHM P.C.
                                       30 Main Street, P.O. Box 66
                                       Burlington, VT 05402
                                       Telephone: 802-864-9891
                                       Email: icarleton@sheeheyvt.com
                                       Counsel for Defendants Dairy Farmers of
                                       America, Inc. and Dairy Marketing Services,
                                       LLC




                                       6
          Case 2:16-cv-00287-cr Document 257 Filed 06/23/20 Page 8 of 8




                               CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2020, I electronically filed with the Clerk of Court the
foregoing document using the CM/ECF system and the below parties via email. The CM/ECF
system will provide service of such filing via Notice of Electronic Filing (NEF) to the following
NEF parties:

       Joel G. Beckman, Esq. (jbeckman@nbparis.com)
       Gary L. Franklin, Esq. (gfranklin@primmer.com)
       William C. Nystrom, Esq. (wnystrom@nbparis.com)
       Elizabeth A. Reidy, Esq. (ereidy@nbparis.com)
       Dana A. Zakarian, Esq. (dzakarian@nbparis.com)

Dated: June 23, 2020
                                                    /s/ Alfred C. Pfeiffer Jr.
                                                    Alfred C. Pfeiffer Jr. (admitted pro hac vice)
                                                    LATHAM & WATKINS LLP
                                                    505 Montgomery Street, Suite 2000
                                                    San Francisco, CA 94111
                                                    Telephone: 415-391-0600
                                                    Facsimile: 415-395-8095
                                                    Email: al.pfeiffer@lw.com
